
Order of the County Court of Queens county reversed upon the law, with ten dollars costs and disbursements. The examination is directed to be held before the Queens county judge on November 13, 1922, at the county court house, Long Island City, at ten o’clock, a. m. The county judge of Queens county has jurisdiction of this proceeding. The provisions of section 778 of the Civil Practice Act do not confer jurisdiction upon the City Court of the City of New York of a supplementary proceeding to examine a judgment debtor residing without the territorial jurisdiction of that court. If the Queens county judge is disqualified, appellant may apply to the Supreme Court, under section 190 of the Civil Practice Act, for removal of the proceeding to that court. Blackmar, P. J., Jaycox, Manning, Kelby and Young, JJ., concur.
